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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG. WILKINSON

REQUEST FOR ORAL ARGUMENT

In accordance with Local Rule 78.1E, GOTECH, Inc. (“GOTECH”) respectfully requests to
orally argue its Motion for Summary Judgment before Judge Shanwood K. Duvall, Jr. Oral
argument will clarify any issues of fact or law which the Court may have and assist the Court in
making a correct disposition of the motion.

WHEREFORE, undersigned counsel for GOTECH, Inc. respectfully moves this Court for
an order granting oral argument on GOTECH, Inc.’s Motion for Summary Judgment on the
scheduled hearing date of August 25, 2006.

By attorneys:

LONG LAW FI L.L. Ah
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Case 2:05-cv-04182-SRD-JCW Document 850-4 Filed 08/03/06 Page 2 of 3

CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail.

Baton Rouge, Louisiangf this’A™ TOL.

ADRIAN G. NADEAU

SdRhondoD12482-039 Katrina (Gutech)PloadingtRoquest for Grol Argnmentwpd Page 2 of 3
Case 2:05-cv-04182-SRD-JCW Document 850-4 Filed 08/03/06 Page 3 of 3

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-
4182
CONSOLIDATED LITIGATION
SECTION “K”
MAGISTRATE (2)
PERTAINS TO: 05-4181 O’Dwyer
05-6073 Kirsch JUDGE DUVAL

MAG. WILKINSON

ORDER
The above premises considered;

IT IS ORDERED that the Request For Oral Argument of GOTECH, Inc. be set for hearing
on August 25, 2006.

New Orleans, Louisiana, this day of , 2006.

JUDGE, USDC EASTERN DISTRICT

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2488-039 Katrina (Gonech) Plead for Oral
